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GASD First Step Act Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(1)(B) Page | of 2 (Page 2Nbt for Public Disclosure)
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UNITED STATES DISTRICT COURT “YY
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Southern District of Georgia
Augusta Division

 

United States of America

v. )
) Case No: CRI108-00110-001 _ a
Antonio Marcellus Johnson )
) USMNo: 13777-021 a a
Date of Original Judgment: March 2, 2010 )
Date of Previous Amended Judgment: January 11, 2012 ) Jacque D. Hawk _ a ee
(Use Date of Last Amended Judgment if Any) Defendant's Attorney

ORDER REGARDING MOTION FOR SENTENCE REDUCTION
PURSUANT TO 18 U.S.C. § 3582(c)(1)(B)

Upon motion of the defendant [] the Director of the Bureau of Prisons [] the court under 18 U.S.C.
§ 3582(c)(1)(B) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the First Step Act of 2018 pursuant to Pub. L. No. 115-391, and
having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10 and the
sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,

IT IS ORDERED that the motion is:
DENIED. [IGRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) Of / months is reduced to

(Complete Parts | and II of Page 2 when motion is granted)

Except as otherwise provided, all provisions of the judgment dated March 2, 2010 _ shall remain in effect.
IT IS SO ORDERED.

Order Date: 4/2 ie

Effective Date:

   

 

      

J. Randal Hal;
United States District Court

a Southern District of Georgia _ oo
(if different from order date) Printed name and title
